                                                                                                                                      FILED
    AO 106 (Rev. 04/10) Appl icnrion for a Search Warran!
                                                                                                                                     JUN O3 2019
                                                                                                                                PETER A. MOORE, JR., CL K
                                                                                                                                 US DISJ RICT COURT, ED
                                           UNITED STATES l)JSTRICT COURT                                                        BY    P (' ,        DEP LK

                                                                           for the
                                                            Eastern District ofN01th Carol i.na

                  In the Matter of the Search of                              )
             {Briefly describe the properly lo be searched
              or identify the person by name and addres.t}
                                                                             )
                                                                              ~        CaseNo.      S-
                    Information Associated with
                 the Subject Account(s) Stored at                            )
              Premises Controlled by Facebook , Inc.                         )

                                                 APPLICATION FOR A SEARCH WARRANT
           [, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

     See Attachment A.
   located in the ___N_o_rt_h_e_rn_ __ District of _ _ _ __C_a_l_ifo_r_n_ia_ __ _ , there is now concealed (identify the
   person or describe tire property to be seized):

     See Attachment B.

             The basis for the search under Fed . R. Crim. P. 4l(c) is (check one or more):
                    -ii
                     evidence of a crime;
                    0 contraband, fruits of crime, or other items illegally possessed;
                    0 property designed for use, intended fo r use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                           Offense Description
          21 U.S .C. § 841(a)(1)                      Distribution and Poss. with Intent to Distribute Controlled Substances
          21 U.S.C. § 846                             Conspiracy to Distrib. and Poss . with Intent to Distribute Controlled Substances
          18 U.S .C. § 1512                           Tampering and Attempted Tampering with a Witness
             The application is based on these facts:
           See attached affidavit.

             ri Continued on the attached sheet.
             0 Delayed notice of _ _ days (give exact ending date if more than 30 days:                        _ __ _ ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the atta hed sheet.

                                                 .                                   =~
              -      ,,,,,_             -r-.1,.
On this day,    { "       J •       SJ:i,
                                      I \1\                                                 Task Force Officer TJ Smith , FBI
appeared before me via reliable electronic means, was                                             Printed name and title
placed under oath, and attested to the contents of this
Application for a Search Warrant.


  Date:


  City and state: Raleigh , North Carolina                                              James E. Gates , U.S. Magistrate Judge
                                                                                                  Printed name and title




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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

IN THE MATTER OF THE SEARCH
OF INFORMATION ASSOCIATED
WITH THE SUBJECT ACCOUNT(S)                    Case No.   S: I<\""~    IL' 3. -3C-
STORED AT PREMISES
                                               Filed Under Seal
CONTROLLED BY F ACEBO OK, INC.


                       AFFIDAVIT IN SUPPORT OF
                AN APPLICATION FOR A SEARCH WARRANT

      I, T.J. Smith, a Task Force Officer (TFO) duly deputized by the Federal Bureau

of Investigation (FBI), United States Department of Justice, being first duly sworn,

depose and state under oath as follows:

                                     INTRODUCTION

      1.     I am an "investigative or law enforcement officer of the United States"

within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer

of the United States who is empowered to conduct investigations of and to make

arrests for offenses enumerated in Title 18, United States Code, Section 2516.

      2.     I am a Police Detective with the Fayetteville, NC, Police Department

(FPD) assigned to the Special Investigations Division (SID) as a narcotics detective

where I have been assigned since January of 2014. In October of 2014, I was assigned

to the HSI/ICE Raleigh, NC, Resident Office as a Task Force Officer until July of

2016. During my assignment as a narcotics detective in the SID, I investigated drug

conspiracy cases using the electronic interception of telephonic communications and

the use of vehicular GPS systems to supplement physical surveillance . I am currently



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a Task Force Officer with the Federal Bureau of Investigation (FBI) . I have been so

employed since July 2016. I am currently assigned to the Fayetteville, NC Resident

Agency. I have over nine (9) years of combined law enforcement experience.

       3.    During both my assignments to the HSI/ICE Raleigh, NC Resident

Office and FBI Fayetteville, NC Resident Agency, I have also spoken on numerous

occasions with informants, suspects, and experienced narcotics investigators

concerning the manner, means, methods, and practices that drug traffickers u se to

further the operation of their drug trafficking organizations and the most effective

methods of investigating and dismantling such organizations.

      4.     As a FPD Narcotics Detective, I have participated in three (3) prior

investigations that have utilized court-ordered interception of wire and electronic

communications as an investigative tool to target domestic Drug Trafficking

Organizations (DTOs). I am therefore familiar with the lawful use of electronic and

wire surveillance equipment in investigations of narcotics distribution. Through

these experiences, I have learned how large-scale drug trafficking organizations

operate. I have also become familiar with street terminology relating to the

distribution of controlled substances .

      5.     In connection with my official FBI Task Force Officer duties, I

investigate criminal violations of federal drug laws and related offenses, including,

but not limited to, violations of 21 U .S.C. §§ 841, 843, 846, 952, 960, and 963, and 18

U.S.C. §§ 1956 and 1957. While part of the FBI Sandhills Criminal Enterprise Task

Force (SCETF), I have participated in three (3) investigations involving the




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monitoring and recording of court authorized Title III interceptions; including the

interception of a total of thirteen (13) target telephone lines during the three (3)

investigations.

       6.     In my employment, I have conducted numerous analyses of telephone-

billing records for telephones used by narcotics traffickers. Consequently, I am

familiar with the ways in which drug traffickers operate their illegal enterprise,

including, but not limited to, their use of cellular telephones and their use of

numerical codes and code words to conduct their transactions. I know that drug

trafficking is often furthered by utilizing multiple cellular phones, multiple insulated

contacts, pre-paid cellular phones, and phones designated to be used only for

incoming or outgoing calls, which is also known as compartmentalization. I know that

drug traffickers frequently use cellular telephones subscribed to false names or to

persons other than the user. The use of telephones in this manner is designed to help

avoid detection by law enforcement.

       7.      I know, based upon my training and experience, that drug trafficking

and money laundering organizations routinely utilize a number of other operational

techniques. These practices are designed and implemented to achieve two goals: first,

the successful facilitation of the organization's illegal activities, which consists of the

transportation and distribution of controlled substances and the subsequent

collection of the proceeds of that illegal activity; and second, minimizing the exposure

of organization members, particularly those operating in management roles, from

investigation and prosecution by law enforcement.




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      8.      I am familiar with the methods used by traffickers of cocame,

methamphetamine, heroin, marijuana, and other controlled substances to conduct

their business, including, but not limited to: methods of importing and distributing

these drugs; u se of numerical codes and code words to conceal the illegal nature of

their transactions; and use of firearms to protect themselves, their drugs, and drug

proceeds.

      9.     Because this affidavit is being submitted for the limited purpose of

establishing probable cause for the requested data, I have not included every detail

of every aspect of the investigation; rather, I have set forth only those facts that I

believe are necessary to establish probable cause. I have not; however, excluded any

information known to me that would negate a determination of probable cau se. The

facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other investigative agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

      10.    As your affiant, I make this affidavit in support of an application for a

search warrant for information associated with an investigation into the conduct of

Lloyd Earnest MITCHELL, Jr. The present request is to search and seize

information contained within the following online accounts maintained by Facebook

Inc. ("Facebook"), a social networking company h eadquartered in Menlo P ark,

California (hereinafter "the Subject Accounts"): USER ID 100004016068694; and




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USER NAME lloyd.mitchell.587.1 The information to be searched is further

described in the following paragraphs and in Attachments A and B. The present

affidavit provides information establishing probable cause to believe that these

accounts contain evidence of violations of Title 18, United States Code, Section 1512

(tampering and attempted tampering with a witness, victim, or an informant) and

Title 21, United States Code, Sections 841(a)(l) and 846 (distribution and/or

possess10n with the intent to distribute methamphetamine, marijuana and

oxycodone, and conspiracy to distribute and possess with intent to distribute

methamphetamine, marijuana, and oxycodone).

      11.    The statements contained in this affidavit are based on information I

have learned through my own investigation; my background, training, and experience

as a Task Force Officer; the investigation of other Special Agents and Task Force

Officers of the Federal Bureau of Investigation; local law enforcement officers, and

investigative assistants, collectively hereinafter referred to as the INVESTIGATIVE

TEAM; in addition to records and other evidence obtained during the course of this

investigation; and interviews with individuals as set forth in this affidavit. This

affidavit does not contain all of my knowledge about this matter. The present affidavit

contains the necessary information to establish probable cause to believe that

evidence of a federal crime is located within the subject accounts.




1     The present request is made pursuant to 18 U.S.C. §§ 2703(a), 2703(b)( l)(A),
2703(c)(l)(A) and Rule 41 of the Federal Rules of Criminal Procedure .

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                                 PROBABLE CAUSE

       12.   On January 4, 2017, pursuant to a search warrant signed by Superior

Court Judge C. Hill, members of the Fayetteville Police Department's Narcotics Unit

and Fayetteville Police Department's Emergency Response Team executed a search

warrant at Lloyd Earnest MITCHELL's residence located at 2711 Rivercliff Road

Fayetteville, North Carolina. Upon members of the Emergency Response Team

making entry inside of the residence, it was determined that MITCHELL had

attempted to flee into the attic of his residence and his feet had fallen through the

sheet rock in the ceiling of the residence.

       13.   MITCHELL was taken into custody after being removed from the attic

space by members of the Fayetteville Police Department's Emergency Response

Team. Upon search of the residence, officers located two (2) assault style rifles,

marijuana, oxycodone and MDMA within the attic space which MITCHELL had fled

to. MITCHELL was charged on state charges on this date. MITCHELL later posted

bond on these state charges .

      14.    On May 8, 2018, the grand jury for the Eastern District of North

Carolina charged the Defendant with possession with intent to distribute a quantity

of methamphetamine, oxycodone, and marijuana (Count One) and possession of

firearms in furtherance of a drug trafficking crime (Count Two). See United States v.

Lloyd Ernest Mitchell, Jr. , 5:18-CR-175-D-1.




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       15.    Lloyd MITCHELL was arrested in June 2018 on the federal indictment.

Following a hearing on June 20, 2018, the Honorable Judge Robert T. Numbers II

released MITCHELL with conditions of release. [D.E. 20].

       16.    Arraignment is scheduled for the June 17, 2019 term of court. [D.E. 41].

The Defendant has indicated through defense counsel that he intends to plead not

guilty and go to trial.

                  MITCHELL's Threats Against, and Attempted
                      Tampering With, Federal Witnesses

       17.    On April 16, 2019, the Government produced additional discovery to the

Defendant with statements made by cooperating sources of information (hereinafter

referred to as "CS-1" and "CS-2").

       18.    Shortly afterwards, members of the INVESTIGATIVE TEAM became

aware that MITCHELL was utilizing his social media Facebook account to publicly

identify and threaten the individuals MITCHELL believes to be CS-1 and CS-2.

Members of the INVESTIGATIVE TEAM were familiar with MITCHELL's social

media account and know him to utilize Facebook via user name lloyd.mitchell.587;

with Facebook user ID: 100004016068694. I have reviewed the account with that

user name and that user ID, and I have confirmed that the account contains

photographs of MITCHELL.

       19.    On April 20, 2019, your affiant observed a Face book post which had been

submitted by Facebook Page username "Duseline Dougk", who the affiant knows from

training and experience to be Ronald Douglas MICHAUX Jr. , who is currently serving

a state sentence of approximately 20 years in a South Carolina Correctional Facility



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for drug and firearm violations. MICHAUX has access to a contraband cellular

telephone and is routinely observed utilizing the "Facebook live" function of his social

media account and can be observed consuming marijuana within his prison cell.

MICHAUX utilizes social media to stay in contact with members of the Fayetteville

area and MICHAUX was known, based on previous independent investigations, to be

a validated UBN gang member as well as a distributor of controlled substances in the

Fayetteville, NC area. The post by MICHAUX-which appears to have been posted

in December 2018-stated, "ldgaf who u told on, how long ago u told or y u

told!!!!!!!!!!!! You's a fuckin rat!!" Based on my training and experience, I know that

"Idgaf' is slang for "I don't give a fuck." I believe MICHAUX was stating that any

person who "told on" someone else, regardless of how long ago or the reason it

occurred, was a "rat," which is common slang for a person who cooperates with law

enforcement.

        20.    On April 20, 2019, MITCHELL u sed the Subject Account(s) to add a

comment to MICHAUX's post. MITCHELL stated, "Yep [CS-1] and [CS-2] became

federal informants in 2019 facts I got the paperwork with the statements."

Based on my training and experience, I believe that MITCHELL was attempting to

publicly identify two individuals MITCHELL believed to be federal cooperators. I

know that defendants frequently attempt to publicly identify suspected "rats" (i.e.,

witnesses) in an attempt to threaten them and/or prevent them from testifying or

providing additional information against them, and I believe this was MITCHELL's

goal.




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       21.   I also know that individuals with Facebook accounts often send non-

public messages to other Face book users, and those messages often contain additional

evidence of criminal activity, including attempts to threaten and intimidate

witnesses.

                     MITCHELL's Continued Drug Dealing

      22.    I also believe there is probable cause to believe that MITCHELL is still

engaged in drug dealing.

      23.    For example, CS-1 stated that soon after MITCHELL was released on

bond on the state ch arges associated with this case, MITCHELL boarded up his

house-the same house where t he search warrant was executed-and returned to his

pattern of drug trafficking.

      24.    Additionally, over the last few months, a separate cooperating source of

information ("CS-3") has had regular conversations with MITCHELL regarding

MITCHELL's drug dealing activities while MITCHELL is on federal pretrial release.

      25 .   For example, on April 23, 2019, MITCHELL advised CS-3 that he was

currently waiting on his marijuana source of supply to re-supply him with a load of

marijuana. MITCHELL informed CS-3 that he had been waiting on the source for

an extended period of time but expected to be re-supplied in the near future.

      26.    I am aware that drug dealers often use Facebook accounts to engage in

conversations in furtherance of their drug trafficking activities. Based on

MITCHELL's willingness to use his Facebook account to publicly identify and

threaten individuals who he believes might testify against him in his upcoming trial




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on drug charges, and based on MITCHELL's continued drug activity, I submit that

there is probable cause to believe MITCHELL's Facebook account will contain

evidence of his drug trafficking activity.

      27.    The affiant believes that MITCHELL has used, will use, and will

continue to use his Facebook page in attempt to expose potential witnesses in this

investigation in attempt to deter them and others from testifying against him in

further legal proceedings.

                   INFORMATION REGARDING FACEBOOK

      28.    Facebook owns and operates a free-access social networking website of

the same name that can be accessed at http://www.facebook.com. Facebook allows its

users to establish accounts with Facebook, and users can then use their accounts to

share written news, photographs, videos, and other information with other Facebook

users, and sometimes with the general public.

      29.    Facebook asks users to provide basic contact and personal identifying

information to Facebook, either during the registration process or thereafter. This

information may include the user's full name, birth date, gender, contact e-mail

addresses, Facebook passwords, Facebook security questions and answers (for

password retrieval), physical address (including city, state, and zip code), telephone

numbers, screen names, websites, and other personal identifiers. Facebook also

assigns a user identification number to each account.

      30.    Facebook users may join one or more groups or networks to connect and

interact with other users who are members of the same group or network. Facebook




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     assigns a group identification number to each group. A Facebook u ser can also

     connect directly with individual Facebook u ser s by sending each user a "Friend

     Request." If the recipient of a "Friend Request" accepts the request, then the two

     u sers will become "Friends" for purposes of Facebook and can exchange

     communications or view information about each other. Each Facebook user's account

     includes a list of that user's "Friends" and a "News Feed," which highlights

     information about the u ser's "Friends," such as profile changes, upcoming events, and

     birthdays.

            31.    Facebook users can select different levels of privacy for the

     communications and information associated with their Facebook accounts. By

     adjusting these privacy settings, a Facebook u ser can make information available

     only to himself or herself, to particular Facebook u sers, or to anyone with access to

     the Internet, including people who are not Facebook users. A Facebook user can also

     create "lists" of Face book friends to facilitate the application of these privacy settings.

     Face book accounts also include other account settings that users can adjust to control,

     for example, the types of notifications they receive from Face book.

            32.    Facebook users can create profiles that include photographs, lists of

     personal interests, and other information. Facebook users can also post "status"

     updates about their whereabouts and actions, as well as links to videos, photographs,

     articles, and other items available elsewhere on the Internet. Facebook users can also

     post information about upcoming "events," such as social occasions, by listing the

     event's time, location, host, and guest list. In addition, Facebook user s can "check in"




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to particular locations or add their geographic locations to their Facebook posts,

thereby revealing their geographic locations at particular dates and times. A

particular user's profile page also includes a "Wall," which is a space where the user

and his or her "Friends" can post messages, attachments, and links that will typically

be visible to anyone who can view the user's profile.

      33.    Facebook allows users to upload photos and videos, which may include

any metadata such as location that the user transmitted when s/he uploaded the

photo or video. It also provides users the ability to "tag" (i.e., label) other Facebook

users in a photo or video. When a user is tagged in a photo or video, he or she receives

a notification of the tag and a link to see the photo or video. For Face book's purposes,

the photos and videos associated with a user's account will include all photos and

videos uploaded by that user that have not been deleted, as well as all photos and

videos uploaded by any user that have that user tagged in them.

      34.    Facebook users can exchange private messages on Facebook with other

users. These messages, which are similar to e-mail messages, are sent to the

recipient's "Inbox" on Facebook, which also stores copies of messages sent by the

recipient, as well as other information. Facebook users can also post comments on the

Facebook profiles of other users or on their own profiles; such comments are typically

associated with a specific posting or item on the profile. In addition, Facebook has a

Chat feature that allows users to send and receive instant messages through

Facebook. These chat communications are stored in the chat history for the account.




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Facebook also has a Video Calling feature, and although Facebook does not record

the calls themselves, it does keep records of the date of each call.

       35.     If a Facebook user does not want to interact with another user on

Facebook, the first user can "block" the second user from seeing his or her account.

       36.     Facebook also retains Internet Protocol ("IP") logs for a given user ID or

IP address. These logs may contain information about the actions taken by the user

ID or IP address on Face book, including information about the type of action, the date

and time of the action, and the user ID and IP address associated with the action. For

example, if a user views a Facebook profile, that user's IP log would reflect the fact

that the user viewed the profile, and would show when and from what IP address the

user did so.

      37.      Social networking providers like Facebook typically retain additional

information about their users' accounts, such as information about the length of

service (including start date), the types of service utilized, and the means and source

of any payments associated with the service (including any credit card or bank

account number). In some cases, Facebook users may communicate directly with

Facebook about issues relating to their accounts, such as technical problems, billing

inquiries, or complaints from other users. Social networking providers like Facebook

typically retain records about such communications, including records of contacts

between the user and the provider's support services, as well as records of any actions

taken by the provider or user as a result of the communications.




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                           AUTHORIZATI ON REQUEST

      38.    Based on the foregoing, I request that the Court issue the proposed

search warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. §

2703(c).

      39.    This Court has jurisdiction to issue the requested warrant because it is

"a court of competent jurisdiction" as defined by 18 U .S.C. §§ 2711 and 2703(a),

(b)(l)(A) & (c)(l)(A) . Specifically, the Court of the Eastern District of North Carolina

is "a district court of the United States that has jurisdiction over the offense being

investigated." 18 U.S.C. § 2711(3)(A)(i).

      40.    Your Affiant anticipates executing this warrant under the Electronic

Communications Privacy Act, in particular 18 U .S.C. §§ 2703(a), 2703(b)(l)(A) and

2703(c)(l)(A), by using the warrant to require Facebook to disclose to the government

copies of the records and other information (including the content of communications)

particularly described in Section I of Attachment B. Upon receipt of the information

described in Section I of Attachment B, government-authorized persons will review

that information to locate the items described in Section II of Attachment B.

      41.    Because Facebook will search its servers at a time convenient to

Face book, I further request that the Court authorize execution of the warrant at any

time of day or night, owing to the potential need for searches to occur outside of

daytime hours.




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            42.      I also respectfully request that this Affidavit be filed under seal. This

     investigation is currently ongoing and the details in this Affidavit, if disclosed prior

     to the completion of the investigation, could compromise future undercover

     operations and alert the subjects, both known and unknown, to the existence of the

     investigation.

                                                   Respect~l(\ submitted,

                                                      ~J~
                                                   T.J. Srrflth
                                                   Task Force Office1·
                                                   Federal Bureau of Investigation

                  tt. /J     CT'"fl~
     On this  3~ay         of _ ,, 2019, Task Force Officer T.J. Smith appeared before me
     via 1·eliable electronic means, was placed under oath, and attested to the contents of

     thl~


     HO JAMES E. GATES
     UNITED STATES MAGISTRATE JUDGE




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                                ATTACHMENT A
                            Property to Be Searched
       This warrant applies to information associate d with the following accounts
("the Subject Accounts"):

                             USER ID 100004016068694;
                           USER NAME lloyd.mitchell.587;


information that is stored at premises owned, maintained, controlled, or operated by
Facebook Inc., a company h eadquartered in Menlo Park, California.




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                                    ATTACHMENT B

                    Particular Things to be Searched and Seized

   I.         Information to be disclosed by Facebook ("the Provider")

To the extent that the information described in Attachment A is within the
possession, custody, or control of Face book Inc. ("Face book"), including any messages,
records, files, logs, or information that have been deleted but are still available to
Facebook, or have been preserved pursuant to a request made under 18 U.S.C. §
2703(£), Facebook is required to disclose the following information to the government
for the Subject Accounts listed in Attachment A:

        (a)     All subscriber information, including subscriber names, email
                addresses, addresses, telephone numbers, screen names, lists of
                "friends," account numbers, status of accounts, duration of account,
                means and source of payment of any service (including any credit card
                or bank account number) , and detailed billing records;

        (b)     All contact and personal identifying information, to include the full
                names, user identification numbers, birth dates, gender, contact e-mail
                addresses, Facebook passwords, Facebook security questions and
                answers, physical address (including city, state, and zip code), telephone
                numbers, screen names, websites, and other personal identifiers;

        (c)     A complete log of all activity relating to the accounts, including dates,
                times, and IP addresses;

        (d)     All records of subscriber accounts preferences, including, but not limited
                to, any address books, friend lists, or member profiles maintained by or
                related to the accounts;

        (e)     All communications and messages, including any attachments,
                associated with the accounts and/or between the account holders and
                any other individual;

        (f)     All images, visual depictions, and videos accessed, viewed, downloaded,
                or posted by the account holders;

        (g)     All comments posted by the account holders;


        (h)     All photos and videos uploaded by that user ID and all photos and videos
                uploaded by any user that have that user tagged in them;



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(i)   All profile information; News Feed information; status updates; links to
      videos, photographs, articles, and other items; Notes; Wall postings;
      friend lists, including the friends' Face book user identification numbers;
      groups and networks of which the user is a member, including the
      groups' Facebook group identification numbers; future and past event
      postings; rejected "Friend" .requests; comments; gifts; pokes; tags; .
      videos; networks; photoprint; neoprint; and information about the user's
      access and u se of Face book applications;

(j)   All other records of communications and messages made or received by
      the user, including all private messages, chat history, video calling
      history, and pending "Friend" requests;

(k)   All "check ins" and other location information;

(1)   All IP logs, including all records of the IP addresses that logged into the
      account;

(m)   All records of the account's usage of the "Like" feature, including all
      Facebook posts and all non-Facebook webpages and content that the
      user has "liked";

(n)   All information about the Facebook pages that the account is or was a
      "fan" of;

(o)   All past and present lists of friends created by the account;

(p)   All records of Face book searches performed by the account;

(q)   All information about the u ser's access and use of Facebook
      Marketplace;

(r)   The types of service utilized by the user;

(s)   The length of service (including start date) and the means and source of
      any payments associated with the service (including any credit card or
      bank account number);

(t)   All privacy settings and other account settings, including privacy
      settings for individual Facebook posts and activities, and all records
      showing which Facebook users have been blocked by the account; and




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        (u)      All records pertaining to communications between Facebook and any
                 person regarding the user or the u ser's Facebook account, including
                 contacts with support services and records of actions taken.

   I.         Scope of Search and Seizure by the Government

        All information de.s cribed above in Secdon I that is:

        1.       Evidence of any violation of Title 18, United States Code, Section 1512
                 (tampering and attempted tampering with a witness, victim, or an
                 informant) and/or Title 21, United States Code, Sections 841(a)(l) and
                 846 (distribution and/or possession with the intent to distribute
                 methamphetamine, marijuana and oxycodone, and conspiracy to
                 distribute and possess with intent to distribute methamphetamine,
                 marijuana, and oxycodone) (subject violations);

For the Subject Accounts listed on Attachment A, this includes but is not limited to
information pertaining to the following matters:

              a) Communications, including but not limited to posts and messages,
                 discussing the possession, distribution, purchase, or sale of narcotics, as
                 well as the receipt, possession, transfer, or laundering of drug proceeds;

              b) Photographs, videos, or other images related to the possession,
                 distribution, purchase, or sale of narcotics, as well as the receipt,
                 possession, transfer, or laundering of drug proceeds;

              c) Communications between suspected narcotics traffickers or other
                 information that establishes the existence of a relationship;

              d) Communications, images, videos, or other data that appears to identify,
                 threaten, or attempt to identify or threaten any potential witness in a
                 future federal proceeding;

              e) Evidence indicating how and when the Facebook account was accessed
                 or used, to determine the chronological and geographic context of
                 account access, use, and events relating to the crime under investigation
                 and to the Facebook account owner;

              f) Evidence indicating the Facebook account owner's state of mind as it
                 relates to the crime under investigation; and

              g) Evidence of the identity of the person(s) who created or used the user
                 IDs, including records that help reveal the whereabouts of such
                 person(s).



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